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                          UNITED STATES DISTRICT COURT
                                   DISTRICT OF OREGON
                                   PORTLAND DIVISION



CAMERON WILSON, Pro Se,
                                                                 3 : 2+-cv- 2-033- H..:Z:
                     Plaintiff                        Case N o.: [To Be Assigned]
       vs.

CITY OF HOOD RIVER, a municipal                                          COMPLAINT
corporation;                                     FOR VIOLATION OF Fourth, First, and
Officer Emelike Delancy, in bis individual          Fourteenth Amendment Amendment
capacity;                                              Violations under 42 U.S.C. § 1983
Officer Austin Griffin, in bis individual
capacity;
Officer Ryan Jundt, in bis individual
capacity;

                     Defendants.
                                                                     Jury Trial Demanded




I. INTRODUCTION



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   1. Thi s civil action arises from the unlawful detention, arrest, excessive use of force, and

      retaliatory conduct of law enfo rcement officers of the City of Hood River, culminating in

      violations of Plaintiff's constitutional rights under the Fourth, First, and Fourteenth

      Amendments to the United States Constitution. Plaintiff Cameron James Wilson brings

      thi s action pursuant to 42 U.S.C. § 1983 and § 1988, seeking redress for Defendants'

      egregious misconduct, including unjustified restraint, suppression of protected activities,

      and deprivation of due process and equal protection.

   2. Defendants' actions inflicted tangible harm on Plaintiff- loss of liberty, physical

      discomfort, emotional distress, and professional interference- warranting compensatory

      damages, punitive damages, declaratory and injunctive relief, and such other remedies as

      this Court deems just and proper.




II. JURISDICTION AND VENUE


   3. Subject Matter Jurisdiction: This Court has original subject matter jurisdiction under

      28 U.S.C. § 133 1, as Plaintiff's claims arise under the U.S. Constitution and federal law

      (42 U.S.C. § 1983). The claims present a federal question for which no state court

      remedies or diversity analysis is required.

   4. Personal Jurisdiction: Defendants are domici led in, operate, or are employed within the

      State of Oregon. Their actions giving rise to this lawsuit occurred in Hood R iver, Oregon.

      This Court has personal jurisdiction over all Defendants because their conduct was

      directed within thi s District.




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   5. Venue: Pursuant to 28 U.S.C. § 139 1(b), venue is proper in the District of Oregon,

      Portland Division, as the events or omissions giving rise to the claims occurred in Hood

      River, Oregon, which falls w ithin the jurisdiction of this Court.

   6. No Other Pending Actions: To Plaintiff's knowledge, there are no other pending suits or

      related actions that would affect venue or jurisdiction in this matter.




III. PARTIES


   7. Plaintiff:

      Cameron James Wilson is a resident and citizen of the United States domiciled in

      Portland, Oregon. At all relevant times, Plaintiff engaged in lawfu l, non-commercial

      travel and exercised fundamental constitutional rights without engaging in any crimina l

      activity.

   8. Defendant City of Hood River:

      The City of Hood River is a municipal corporation organized under the laws of the State

      of Oregon. It is responsible for the policies, practices, and customs of its Police

      Department and for the training, superv ision, and discipline of its officers. The City's acts

      and omissions, as well as its deliberate indifference to constitutional standards, played a

      direct role in the violations alleged herein.

   9. Defendant Officer Emelike Delancy:

      Officer Emelike Delancy was, at all relevant times, a duly appointed police officer

      employed by the Hood River Police Department. Acting under color of state law and




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      within the scope of his employment, he participated in and fac ilitated the constitutional

      violations a lleged. He is sued in hi s ind ividua l capacity.

   10. Defendant Officer Austin Griffin:

      Officer Austin Griffin was, at all relevant times, a duly appointed police officer

      employed by the Hood River Police Department, acting under color of state law and

      within the scope of his employment. He is sued in his indi vidua l capacity for his direct

      involvement in the unlawful detention and arrest of P laintiff.

   11 . Defendant Officer Ryan Jundt:

      Officer Ryan Jundt was, at all relevant times, a duly appointed police officer employed

      by the Hood River Police Department, acting under color of state law and within the

      scope of his employment. He is sued in his individua l capacity for assisting in the

      excessive restraint and violation of Plaintiff's rights.




IV. FACTUAL ALLEGATIONS


A. Background


   12. O n o r about December l 0, 2022, at approximately I 0:02 a.m., Pla intiff was lawfu lly

      operating his privately owned vehicle- a blue 20 14 BMW 328d displaying plates reading

      "Not for Hire" and "Traveler"-on Oak Street in Hood River, Oregon. Plaintiff, an

      amputee, routinely must stretch and adj ust his prosthetic limb to maintain comfort and

      functionality, an action protected under the Americans with Disab ilities Act (ADA), 42

      U.S.C. § 12 10 1 et seq.



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B. Initial Observations by Defendants


   13. Defendants Officer Delancy and Officer Griffi n, on uniformed patrol along Oak Street,

       observed two vehicles traveling eastbound: ( I) Pla intiff's BMW without state-issued

       registration plates or a trip permit, and (2) a maroon 2004 Oldsmobile Bravada (Oregon

       Reg. 056MUZ) allegedly exceeding the posted 20 mph speed limit.

   14. Beli eving these vehicl es to be traveling together, Officers Delancy and Griffin conducted

       a U-turn, activated their overhead emergency lights, and fo llowed both vehicles as they

       turned rig ht onto 4th Street and then onto State Street, where they parked in adjacent

       spaces along the north side of State Street.


C. Plaintiff's Lawful Conduct


   15. After parking, Plaintiff exited his vehicle to stretch his prosthetic limb. This

       non-criminal, disability-related action is protected under federal law. Plaintiff began

       walk ing westbound on the north sidewalk of State Street with the intent to continue his

       day unimpeded.

   16. Defendant Officer Griffin, observ ing Plaintiff merely walking away from hi s parked

       vehicle, unreasonably suspected that Plaintiff was attempting to "elude" on foot, despite

       no criminal conduct, no contraband, and no erratic behavior indicative of wrongdoing.

   17. Without reasonable suspicion or probable cause, Officer Griffin approached Plaintiff and

       demanded that he show his hands for "officer safety." Plaintiff promptly complied.

   18. Officer Griffin initiated an unwarranted interrogation regard ing the absence of state

       registration plates on Plaintiff's vehicle, ignoring the fact that Plaintiff was not engaged




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       in commerce and thus questioning the appl icability of motor vehicle registration

       requirements.

   19. Exercising his Fifth Amendment right to remain silent, P laintiff stated, " I don 't want to

       have any kind of conversation," and further asserted, " I think first you would have to

       prove that l was driving on the roads in a commercial capacity." Plaintiff's lawful request

       for clarity on legal grounds for detention was met with evasiveness.

   20. Plaintiff requested a supervising officer, stating, "Can you get your Sergeant?" This

       request is a form of petitioning for redress of grievances, protected by the First

       Amendment. Officer Griffin acknowledged the request but did not faci litate it,

       responding, " It would be one moment," knowing no supervisor was readily available.

   21. Plaintiff reiterated his constitutional rights, declaring, ".I'm gonna reserve all rights at this

       point, also my right to remain silent." Officer Griffin affirmed, ''No problem, as it is your

       right to remain silent."

   22. During this interaction, Officer Emelike Delancy explicitly confirmed Plaintiff's right to

       travel while not engaged in traffic and stated that Plaintiff could not be labeled a

       "sovereign citizen." This acknowledgment underscores the absence of any legitimate

       basis for detention or arrest, as Defendants recogn ized Pla intiff's lawful status.

   23. After obtaining Plaintiff's name under threat of arrest, Defendants issued no c itations or

       tickets for any a lleged infractions. Their fai lure to formalize any charges or traffic

       violations further demonstrates the lack of probable cause or reasonable suspicion to

      j ustify Plaintiff's continued detention and arrest.

   24. Without lawfu l justification, Defendant Officer Delancy escalated the situation, taking

       hold of Plaintiff's right wrist and, with Officer Jundt's assistance, restraining Plaintiff's



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      left arm behind his back. Plaintiff was forcibly handcuffed, despite posing no threat o r

      attempting to flee.

   25. Officer De lancy confiscated Pla intiff's cellular phone, turning off the ongoing recording

      and placing it into Plaintiff's jacket pocket. This action directly interfered with Plaintiff's

      First Amend ment right to record law enforcement conduct (G lik v. C unniffe, 655 F.3d 78

      ( 1st Cir. 2011 )).

   26. P laintiff remained handcuffed fo r approximately s ix minutes, experienc ing physical

      discomfort, emotional distress, and humiliatio n. During this detentio n, officers threatened

      arrest if Plaintiff did not produce identification, even thoug h no lawful grounds existed to

      demand compliance.

   27. Defendants lacked reasonable suspicion or probable cause. The absence of state-issued

      reg istration plates on a privately owned vehicle, not engaged in commerce, does not

      establish a criminal violatio n or justify detention (Terry v. Ohio, 392 U.S. I ( 1968)).

   28. Plaintiff's mere act of walking away to stretch his prosthetic lim b cannot be deemed

      evasive or unlawful conduct. No contraband, criminal activity, or warrants were at issue.

   29. Defendants' actions were objective ly unreasonable and contrary to clearly established

      constitutional law, thus precl uding q ualified immunity (Harlow v. Fitzgerald, 457 U.S.

      800 ( 1982)).

   30. Defendants penalized Plaintiff for asserting his constitutional rights- requesting a

      supervisor (a form of petition), exercising the right to remain silent, and recording police

      activity- all protected under the First Amendment.

   31. By detaining and arresting Plaintiff after he exercised these rights, Defendants engaged in

       unlawful retaliation designed to chill the exerc ise of protected speech and conduct.



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H. Denial of Due Process and Equal Protection


   32. Defendants deprived Plaintiff of liberty without due process by detaining and arresting

       him absent any lawful justification, violating the Fourteenth A mendment.

   33. Defendants failed to accommodate Plaintiff's disability-related need to stretch his

       prosthetic limb, demonstrating de liberate indifference and depriving Pla intiff of equal

       protection under the law.


1. Harm Suffered by Plaintiff


   34. As a direct and proximate result of Defendants' actions, Plaintiff suffered: a. Unlawful

       deprivation of liberty. b. Physical discomfort and pain from unnecessary handcuffi ng. c.

       Emotional distress, humiliation , and mental ang uish. d. Violation of constitutional rig hts

       protected by the First, Fourth, and Fourteenth Amendments. e. Interference with

       professional o bligations and reputation. f. Fear and anxiety regarding future interactions

       with law enforcement.




V. CLAIMS FOR RELIEF


COUNT I: U nlawful Seizure and False Arrest (Fourth Amendment, 42 U.S.C. § 1983)


   35. Plaintiff realleges and incorporates by reference a ll preceding paragraphs.

   36. Defendants, acting under color of state law, unlawfully seized and arrested Plaintiff

       without reasonable suspicio n or probable cause, vio lating Plaintiff's Fourth Amendment

       rights (applicable to the states throug h the Fourteenth Amendment).



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   37. Defendants' acts and om1ss1ons were intentional, reck less, and exhibited deliberate

       indifference to Plaintiff's constitutional safeguards.

   38. As a result, Pla intiff suffered the harm described above.


COUNT II: Excessive Force (Fourth Amendment, 42 U.S.C. § 1983)


   39. Plaintiff realleges and incorporates by reference all preceding paragraphs.

   40. Defendants used objectively unreasonable force, including handcuffing and physical

       restrai nt, despite the absence of any threat or resistance, violating Plaintiff's Fourth

       Amendment rights (Graham v. Connor, 490 U.S. 386 ( 1989)).

   41. Defendants' conduct was w illful, wanton, and reckless, causing physical and emotiona l

       harm to Plaintiff.

   42. As a result, Plaintiff suffered the harm descri bed above.


COUNT III: Retaliation (First Amendment, 42 U.S.C. § 1983)


   43. Plaintiff realleges and incorporates by reference all preceding paragraphs.

   44. Plaintiff's protected activities included requesting a superv isor, exercising the right to

       remain silent, and recording law enforcement conduct (Gl ik v. Cunniffe, 655 F.3d 78 ( I st

       Cir. 2011)).

   45. Defendants retaliated agai nst Plaintiff by detaining, arresting, and using excessive force

       to punish Plaintiff for exercising these rights, thereby chilling the exercise of

       constitutionally protected activities.

   46. As a result, Plaintiff suffered the harm described above.




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COUNT IV: Violation of Due Process and Eq ual Protection (Fourteenth Amendment, 42

u.s.c. § 1983)

   47. Plaintiff realleges and incorporates by reference all preceding paragraphs.

   48. Defendants deprived Plaintiff of liberty without due process of law by effecting detention

      and arrest in the absence of lawful grounds.

   49. Defendants' refusal to accommodate Plaintiff's disabi lity and the ir targeting of Plaintiff

      without any legitimate suspicion violated the Equal Protection Clause of the Fourteenth

      Amendment.

   50. Defendants' actions were deliberately indifferent to Plaintiff's constitutional rights.

   51. As a result, Plaintiff suffered the harm described above.


COUNT V: Monell Claim - Unconstitutional Policy, Practice, or Custom (42 U.S.C. § 1983)


   52. Plaintiff realleges and incorporates by reference all preceding paragraphs.

   53. The C ity of Hood River, through its final policymakers, developed and maintained

       policies, practices, or customs exhibiting deliberate indifference to the constitutional

       rights of individuals.

   54. These po licies include inadequate training and supervision of officers on lawful

       detentions, use of force, respecting First Amendment activities, and accommodating

       individuals with disabilities.

   55. By fai ling to correct known misconduct or retrain officers known to have engaged in

       unconstitutional behavior, the City's deliberate indifference was a moving force behind

       the violations Plaintiff suffered.




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   56. As a result of the C ity's policies, practices, or customs, Plaintiff suffered the harm

       described above.




VI. PRAYER FOR RELIEF


WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in his favor and

against Defendants, jointly and severally, and grant the following relief:


A. Compensatory Damages:

An award of compensatory damages m an amo unt to be determined at trial, sufficient to

compensate Plaintiff for physical pain, emotional distress, humil iation, mental anguish, lost

professional opportunities, and other harms caused by Defendants' unlawfu l conduct.


B. Punitive Damages:

An award of punitive damages against the ind ividual Defendants to punish and deter willful,

wanton, and reckless disregard for Plaintiff's constitutional rig hts.


C. Declaratory Relief:

A declaration that Defendants' acts, policies, practices, and customs violated Plaintiff's rights

under the Fourth, First, and Fourteenth Amendments.


D. Injunctive Relief:

An order requiring the City of Hood River to implement policies, practices, and training to

prevent future constitutional violations, including:


    I. Training o n constitutional standards for detentions, arrests, and use of force.


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   2. Training on respecting individuals' F irst Amendment rights, including the right to record

       police activity.

   3. Training on interactions w ith individuals w ith disabilities, in compliance with the ADA.


E. Litigation Fees and Costs:

An award of litigation fees, litigation expenses, and costs pursuant to 42 U.S.C. § 1988 and other

applicable laws.


F. Pre- and Post-Judgment Interest:

As permitted by law, awarding interest on all monetary recoveries.


G. Any Other Relief:

Such other and further relief as this Court deems just a nd proper.




VII. JURY DEMAND


Plaintiff demands a trial by jury on all issues so triable as a matter of right, pursuant to the

Seventh Amendment to the United States Constitution and Federal Rule of C ivil Procedure 38.




DATED: December 6, 2024.


Respectfully submitted,

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Legal Citations:


   •    42 U.S.C. § 1983; 42 U.S.C. § 1988

   •    Fourth Amendment; First Amendment; Fourteenth Amendment

   •    Be ll Atlantic Corp. v. Twombly, 550 U.S. 544 (2007)

   •    Ashcroft v. Iqbal, 556 U.S. 662 (2009)

   •    Terry v. Ohio, 392 U.S. 1 (1968)

   •    Graham v. Connor, 490 U.S. 386 ( 1989)

   •    Glik v. Cunniffe, 655 F.3d 78 ( I st Cir.20 11 )

   •    Pennsylvania v. Mimms, 434 U.S. 106 ( 1977)

   •    Harlow v. Fitzgerald, 457 U.S. 800 ( 1982)

   •    Monell v. Dep't of Soc. Servs., 436 U.S. 658 (1978)




[End of Complaint]




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